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                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION


BERKELEY COUNTY SCHOOL BOARD
OF TRUSTEES,

                       Petitioners,
        v.                                             C.A. No. 2:18-cv-00151-DCN

HUB INTERNATIONAL LIMITED, HUB
INTERNATIONAL MIDWEST LIMITED,
HUB INTERNATIONAL SOUTHEAST,
KNAUFF INSURANCE AGENCY, INC.,
STANLEY J. POKORNEY,
SCOTT POKERNEY, and
BRANTLEY THOMAS,

                       Respondent.



                 DEFENDANTS HUB INTERNATIONAL LIMITED AND
                    HUB INTERNATIONAL MIDWEST LIMITED’S
                 MOTION TO ENFORCE ARBITRATION AGREEMENTS
                        AND MEMORANDUM IN SUPPORT

       Defendants Hub International Limited and Hub International Midwest Limited (the “Hub

Defendants”) respectfully move pursuant to the Federal Arbitration Act (“FAA”), 9 U.S.C. §§ 1-

4, for an order compelling arbitration in accordance with applicable arbitration agreements and

staying this case.

                                        INTRODUCTION

       Plaintiff Berkeley County School Board of Trustees (the “Board”) alleges a scheme led

by Brantley Thomas, the former Chief Financial Officer of the Berkeley County School District

(the “District”), to defraud the District and enrich himself by stealing refunds, soliciting personal

payments, and purchasing allegedly unnecessary insurance. That scheme dates back to 2001 and
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was allegedly carried out with the help of Stanley Pokorney, an insurance broker who worked for

Knauff Insurance Agency, Inc. (“Knauff”), and later for Hub International Southeast once Hub

International Midwest Limited acquired Knauff.1 The Complaint contends that Thomas caused

the District to purchase insurance policies and services sold by Knauff and the Hub Defendants,

and that those policies and services had zero value to the District. The Complaint thus seeks to

recover every penny the District paid for those services, as well as treble and punitive damages,

from the Hub Defendants for an alleged scheme of racketeering, fraud, breach of contract, and

other torts that are alleged to have spanned the Complaint’s sixteen-year period.

       The services the Board now challenges were provided by the defendants pursuant to

contractual terms. And the Knauff contracts on which the Board relies for most of its claimed

damages contained provisions stating that “[a]ll disputes, claims or controversies relating to”

such agreements “or the services provided” pursuant to those agreements “shall be submitted” to

arbitration.2 E.g., Benfield Decl. Ex. B ¶ 4.4 (Brokerage Service Agreement dated June 18,

2002) (emphasis added). That language on its face requires that the Board’s claims seeking

damages based on fees and premiums paid under the Knauff contracts be submitted to

arbitration. See, e.g., Am. Express Co. v. Italian Colors Rest., 570 U.S. 228, 233 (2013). And it

is clear that the Board’s allegations against the Hub Defendants must be submitted to arbitration

as well. The Complaint essentially alleges a unitary, sixteen-year scheme in which the Hub

Defendants merely continued the conduct of its predecessor after acquiring Knauff. Claims

regarding the Knauff contracts are thus inextricably intertwined with and significantly related to


1
  Hub International Southeast is not a separate corporate entity, but rather a division of Hub
International Midwest Limited, and thus is not a proper defendant in this action.
2
 The Board seeks compensatory damages of approximately $9.35 million for amounts the
District paid to Knauff and $4.83 million for amounts the District paid to the Hub Defendants.
Compl. ¶¶ 44-45.


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the rest of the Complaint’s allegations against the Hub Defendants, and so the entire case should

be submitted to arbitration. It would make no sense to have the arbitrator decide whether the

alleged course of conduct violated RICO, state tort law, and contractual requirements during the

Knauff period, and then to have this court separately consider those very same questions with

respect to an allegedly identical course of conduct after the Hub Defendants acquired Knauff. To

the extent there is any doubt about the scope of the arbitrable issues, moreover, the District

agreed to submit such questions to the arbitrators. And even if it had not, it is well-established

that, under the strong federal policy favoring arbitration agreements, any doubts about the scope

of an arbitration agreement must be resolved in favor of arbitration. The Court should thus

compel arbitration of all of the Board’s claims and stay this case pending that arbitration.

                                        BACKGROUND

       Plaintiff, the Board, alleges that the District’s former Chief Financial Officer, Brantley

Thomas, orchestrated a sixteen-year scheme in which he steered the District into buying

insurance policies and services sold by the Hub Defendants and Knauff, a corporation that

merged into Hub International Midwest Limited in 2012. See Compl. at 1-2 & ¶¶ 2, 7, 15-19; see

also Benfield Decl. Ex. A (Articles of Merger). The Board alleges that those insurance policies

and consulting services were unneeded and overpriced. E.g., id. ¶¶ 42-43, 48-49, 147-151. It

brings eleven claims, each of which seeks as damages every penny the District paid Knauff and

the Hub Defendants for insurance premiums, fees, or both from 2001 through 2017. See id.

¶¶ 44-47, 158-245.

       The Complaint alleges that Thomas and Stanley Pokorney, who “served as the District’s

insurance consultant and broker since at least 1993,” engaged in a continuous scheme over the

entirety of the Complaint’s damages period, for which it attempts to hold all defendants liable.




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Compl. at 2. For example, the Complaint alleges that both Hub Defendants are “directly and

vicariously liable for all of the torts alleged herein against Knauff, [Stanley] Pokorney, and Scott

Pokorney.” Id. ¶ 10. And its allegations lump the Hub Defendants together with Knauff and the

Pokorneys, referring to them collectively as the “Insurance Defendants,” id. ¶ 11, and rarely

differentiating their actions, see, e.g., id. ¶ 21 (“[S]ince at least 2001, Thomas and the Insurance

Defendants engaged in multiple illegal schemes pursuant to which the Insurance Defendants paid

kickbacks to Thomas in exchange for his assistance in the Insurance Defendants’ efforts to

procure or maintain the District’s insurance business.”); id. ¶ 49 (“Despite their duties to the

District . . . the Insurance Defendants made no effort to lower the District’s insurance costs and,

instead, recommended costly duplicative policies[.]”).

       The Complaint acknowledges that the services it now challenges as worthless were

provided by Knauff and the Hub Defendants pursuant to contract; indeed, the Complaint asserts

claims for breach of those contracts. Compl. ¶¶ 233-236. But while the Complaint makes no

mention of it, the contracts between Knauff and the District contained clear and unequivocal

arbitration provisions:

       All disputes, claims or controversies relating to this Agreement, or the services
       provided, which are not otherwise settled, shall be submitted to a panel of three
       arbitrators and resolved by final and binding arbitration, to the exclusion of any
       courts of laws, under the commercial rules of the American Arbitration
       Association.

       ...

       Judgment upon the award rendered may be entered in any court having
       jurisdiction thereof; however, the arbitrators may not enter an award for damages
       in excess of the actual compensatory damages sustained, nor make any award for
       punitive damages. Each party shall bear the expense of its own arbitrator and
       shall jointly and equally bear with the other party the cost of the third arbitrator
       and of the arbitration.




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E.g., Benfield Decl. Exs. B-G ¶¶ 4.4, 4.5 (Brokerage Service Agreements dated June 18, 2002;

June 27, 2003; August 16, 2005; December 19, 2006; December 19, 2009; and May 1, 2011)

(emphasis added).

       Notwithstanding that arbitration provision, the Complaint demands that this federal court

award treble damages of over $42.5 million, plus punitive damages and attorneys’ fees. Compl.

at 55 & ¶ 46.

                                           ARGUMENT

I.     THE COURT SHOULD ENFORCE THE ARBITRATION PROVISIONS                      AND   COMPEL THAT
       THE ENTIRE DISPUTE BE ARBITRATED

       The Supreme Court has repeatedly underscored the “emphatic federal policy in favor of

arbitral dispute resolution” embodied in the FAA. Mitsubishi Motors Corp. v. Soler Chrysler-

Plymouth, Inc., 473 U.S. 614, 631 (1985); see also, e.g., AT&T Mobility LLC v. Concepcion, 563

U.S. 333, 339 (2011). The FAA provides that written arbitration agreements “shall be valid,

irrevocable, and enforceable, save upon such grounds as exist at law or in equity for the

revocation of any contract.” 9 U.S.C. § 2. A party aggrieved by another’s failure to follow such

an agreement may petition a district court to order that arbitration to proceed. Id. § 4. And if

issues in a pending suit are referable to arbitration, a district court “shall on application of one of

the parties stay the trial of the action until such arbitration has been had in accordance with the

terms of the agreement.” Id. § 3.

       A party seeking to compel arbitration must establish: “ ‘(1) the existence of a dispute

between the parties, (2) a written agreement that includes an arbitration provision which purports

to cover the dispute, (3) the relationship of the transaction, which is evidenced by the agreement,

to interstate or foreign commerce, and (4) the failure, neglect or refusal of the defendant to




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arbitrate the dispute.’ ” Am. Gen. Life & Accident Ins. Co. v. Wood, 429 F.3d 83, 87 (4th Cir.

2005) (quoting Adkins v. Labor Ready, Inc., 303 F.3d 496, 500-01 (4th Cir. 2002)).

       As explained below, each of those requirements is met here. But if there were any doubt,

“the heavy presumption of arbitrability requires that when the scope of the arbitration clause is

open to question, a court must decide the question in favor of arbitration.” Peoples Sec. Life Ins.

Co. v. Monumental Life Ins. Co., 867 F.2d 809, 812 (4th Cir. 1989). Accordingly, the Court

should “grant [the] motion to compel arbitration” and stay further proceedings in this Court.

Adkins, 303 F.3d at 500.

       A.      The Knauff Contracts Contain Valid Arbitration Agreements Covering This
               Dispute

               1.     The Written Arbitration Agreements Relate to the Parties’ Dispute

       The contracts governing the relationship between Knauff and the District require that any

dispute concerning the relationship between Knauff and the District be submitted to arbitration:

“All disputes, claims or controversies relating to this Agreement, or the services provided, which

are not otherwise settled, shall be submitted to a panel of three arbitrators and resolved by final

and binding arbitration, to the exclusion of any courts of laws, under the commercial rules of the

American Arbitration Association.”      E.g., Benfield Decl. Ex. B ¶ 4.4 (Brokerage Service

Agreement dated June 18, 2002).3

       The allegations in the Complaint with respect to Knauff plainly fall within the scope of

the parties’ arbitration provision. The gravamen of the claims against the Hub Defendants stems

from the actions of Stanley Pokorney “in his position with Knauff and Hub as the District’s


3
  Courts routinely enforce similar clauses. See, e.g., Am. Recovery Corp. v. Comput. Thermal
Imaging, Inc., 96 F.3d 88, 93, 97 (4th Cir. 1996) (reversing denial of motion to compel where
parties agreed to arbitrate “any dispute that ‘arose out of or related to’ the consulting
agreement” (brackets omitted)).


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insurance broker or consultant.” Compl. ¶ 29. The Complaint alleges that “[t]he District entered

into multiple contracts with the Insurance Defendants for consulting services, which required

Defendants to use their expertise as insurance consultants to provide sound advice concerning

the insurance needs of the District.” Id. ¶ 234. And it is clear that those contracts are the same

ones containing arbitration clauses. For example, a contract executed in June 2003 covered

services provided on lines of insurance including “Inland Marine” and “Excess Liability.”

Benfield Decl. Ex. C ¶ 2.1; see also Benfield Decl. Ex. B ¶ 2.1 (June 2002 contract covering

Excess Crime). The Complaint alleges that the Insurance Defendants’ recommendation that the

District purchase both types of policies was wrongful, and details at length the money the

District supposedly wasted on Inland Marine coverage from 2001 through 2017. Compl. ¶¶ 40,

127-139. The Complaint similarly details allegedly unnecessary Directors and Officers coverage

for Securing Assets for Education, a charitable organization supporting the District, which

coverage Knauff agreed to provide services for in contracts dated December 2006 and December

2009. See Benfield Decl. Exs. E & F ¶ 2.1; Compl. ¶¶ 104-112. The Board also complains of a

School Board Errors and Omissions Policy and the $70,000 annual broker fee it paid to Knauff

in connection with it—provided for in an agreement that, like the foregoing Knauff contracts,

contained an arbitration clause. See Compl. ¶¶140-146; Benfield Decl. Ex. G ¶¶ 2.1, 4.4.

       The Complaint alleges that “[t]he Insurance Defendants breached [those] contracts . . . by

providing unsound advice, and advising the District to purchase insurance that was unnecessary

and excessive.” Compl. ¶ 235. The other claims similarly allege breaches of duty or other

wrongdoing arising from or relating to those contracts and the services they governed. The

RICO claim seeks damages for “representing to the District that it needed certain insurance and

insurance reviews, which it did not need . . . for the sole purpose of charging sham consulting




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fees.” Id. ¶ 162. Likewise, the fraud claim is based on “advising the [District] to purchase

insurance that Defendants knew was unnecessary . . . for the sole purpose of collecting exorbitant

advisor fees.” Id. ¶ 180; see also, e.g., id. ¶ 208 (breach of fiduciary duty claim premised on bad

advice and “exorbitant advisory fees”). And every one of the Board’s claims seeks as damages

the fees the District paid to Knauff for broker and consulting services. Id. ¶¶ 168a, 176a, 188a,

196a, 203a, 210a, 219a, 232a, 236a, 241, 244.

       There can be no serious dispute that such “disputes, claims or controversies” “relat[e] to

[the parties’] Agreement, or the services provided” by Knauff. E.g., Benfield Decl. Ex. B ¶ 4.4.

The Court “must rigorously enforce [this] arbitration agreement[ ] according to [its] terms.” Am.

Express Co., 133 S. Ct. at 2309 (quotation marks omitted).

               2.     The Hub Defendants May Invoke the Arbitration Agreements

       It is clear, moreover, that all of the Hub Defendants may invoke the arbitration provision

in the Knauff contracts to the extent the Board seeks to hold them liable for conduct during the

period in which those agreements were in effect. “Well-established common law principles

dictate that in an appropriate case a nonsignatory can enforce, or be bound by, an arbitration

provision within a contract executed by other parties.”       Int’l Paper Co. v. Schwabedissen

Maschinen & Anlagen GMBH, 206 F.3d 411, 416-17 (4th Cir. 2000). This is such a case.

       Among other things, the law is crystal clear that a “successor-in-interest may enforce an

arbitration agreement.” Cheraghi v. MedImmune, LLC, No. 8:11-cv-01505(AW), 2011 WL

6047059, at *5 (D. Md. Dec. 5, 2011); see also Smith Barney, Inc. v. Critical Health Sys. of N.C.,

Inc., 212 F.3d 858, 859-60 (4th Cir. 2000) (enforcing terms of arbitration agreement in favor of

successor); Gadberry v. Rental Serv. Corp., No. 0:09-3327-CMC-PJG, 2011 WL 767034, at *3

n.3 (D.S.C. Jan. 21, 2011) (rejecting “argument that the arbitration agreement does not apply to

[a signatory’s] corporate successor”).    The Complaint acknowledges that Hub International


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Midwest Limited is Knauff ’s successor-in-interest (having “acquired Knauff in 2012”), and on

that very basis claims Hub “is directly and vicariously liable for all of the torts alleged herein

against Knauff.”    Compl. ¶¶ 7, 10.      By the Board’s own allegations and logic, the Hub

Defendants also succeeded to Knauff ’s rights to compel arbitration under its contracts with the

District.

        Separately, equitable estoppel allows a nonsignatory to compel arbitration where the

signatory’s claims “either literally or obliquely[ ] assert a breach of a duty created by the contract

containing the arbitration clause.” Am. Bankers Ins. Grp. v. Long, 453 F.3d 623, 629 (4th Cir.

2006).4 And “[t]he Fourth Circuit has expressed a clear policy in favor of arbitrating claims

against non-parties to an arbitration agreement if those claims are based on the same alleged

facts underlying claims against a party to the agreement.” Hinson v. Jusco Co., 868 F. Supp.

145, 149 (D.S.C. 1994) (Norton, J.); see J.J. Ryan & Sons, Inc. v. Rhone Poulenc Textile, S.A.,

863 F.2d 315, 320-21 (4th Cir. 1988) (claims against a nonsignatory parent may be arbitrable if

they “are based on the same facts and are inherently inseparable” from claims against a signatory

subsidiary). That is the case here. The Board seeks to hold the Hub Defendants liable for

breaches of contracts between Knauff and the District that contained arbitration clauses. Compl.

¶¶ 234-236 (breach of contract claim). And while it styles other claims in terms of federal RICO

or state tort violations, any duties owed by Knauff or the Hub Defendants during that period

similarly arise from that contractual relationship between Knauff and the District. See, e.g., id.

¶¶ 205-209 (alleging fiduciary duties breached by “advising [the District] to purchase and

maintain insurance that was unnecessary and duplicative” and charging exorbitant fees for

policies and services). Those claims too are therefore subject to arbitration under the Knauff

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 South Carolina has adopted the Fourth Circuit’s approach on this issue. Swane Co. v. Berkeley
County, No. 2:15-cv-02586, 2015 WL 6688072, at *6 (D.S.C. Oct. 30, 2015) (Norton, J.).


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contracts, see Summer Rain v. Donning Co./Publishers, Inc., 964 F.2d 1455, 1457-59 (4th Cir.

1992) (gravamen of claims including RICO and fraud was breach of contracts with arbitration

clauses); Long v. Silver, 248 F.3d 309, 317-19 (4th Cir. 2001) (claims including fraud, breach of

fiduciary duty, civil conspiracy, and unfair trade practices were arbitrable because they relied on

contract with arbitration clause or duties created thereby), and the Hub Defendants may enforce

that requirement, see Hinson, 868 F. Supp. at 149.

       B.      All of the Board’s Claims Are Subject to the Broad Arbitration Agreements

       It is further clear that the Board’s claims encompassing the period after Hub acquired

Knauff should also be submitted to arbitration. The “sweeping language of broad arbitration

clauses”—such the arbitration provisions here, see p. 4, supra—“applies to disputes in which a

significant relationship exists between the asserted claims and the contract in which the

arbitration clause is contained.” Landers v. FDIC, 739 S.E.2d 209, 214 (S.C. 2013) (emphasis

added). The Complaint here alleges what amounts to a unitary scheme over the course of sixteen

years—there is thus a “significant relationship” between the allegations of misconduct during

periods while the Knauff agreements were in effect and the allegations pertaining to later

periods, making the entire dispute subject to arbitration. The law and common sense alike

dictate that the dispute over the propriety of that common course of conduct be resolved in one

proceeding, in a single forum.

       The “significant relationship” test requires a court to look to the factual allegations

underlying the claims, regardless of their legal labels, and to “[b]ear[ ] in mind the strong federal

policy in favor of arbitration.” Am. Recovery Corp. v. Comput. Thermal Imaging, Inc., 96 F.3d

88, 93 (4th Cir. 1996). With a broad arbitration clause, “the test . . . is not whether a claim arose

under one agreement or another, but whether a significant relationship exists between the claim

and the agreement containing the arbitration clause.” Id. at 94. Thus, “[t]he scope of an


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arbitration clause in one contract can extend to a dispute arising under a second contract,

provided that the dispute ‘significantly relates’ to the first agreement.” Gen Elec. Capital Corp.

v. Union Corp. Fin. Grp., 142 F. App’x 150, 152 (4th Cir. 2005). That test is satisfied here.

       Courts have found that an arbitration clause may encompass more than claims arising

under the terms of the specific contract containing it where the clause contains “broad” language

like the clauses here—“[a]ll disputes, claims or controversies relating to” the contracts in which

they are contained “or the services provided” in conjunction with that contract. See Prima Paint

Corp. v. Flood & Conklin Mfg. Co., 388 U.S. 395, 398 (1967) (labeling as “broad” a clause that

required arbitration of “[a]ny controversy or claim arising out of or relating to this Agreement”);

Great Am. Ins. Co. v. Hinkle Contracting Corp., 497 F. App’x 348, 353 (4th Cir. 2012) (similar);

Whitaker v. Protective Life Ins. Co., No. 6:10-02314-HFF, 2011 WL 13217968, at *3 (D.S.C.

Aug. 18, 2011) (“any controversy” language connotes a broad arbitration agreement). The

arbitration clauses in the Knauff agreements fit that description precisely, requiring that “[a]ll

disputes, claims or controversies relating to this Agreement, or the services provided, . . . shall be

submitted to” arbitration. E.g., Benfield Decl. Ex. B ¶ 4.4

       And it is likewise clear that all of the Board’s claims bear a significant relationship to

those contracts and services because the Complaint alleges an overarching scheme led by

Thomas and Stanley Pokorney from 2001 through 2017, continuing unabated through the Knauff

acquisition. The Board links all of Knauff ’s and the Hub Defendants’ conduct throughout that

period, casting each of its claims as embracing the entire time period and seeking to hold the Hub

Defendants liable for all of it. Compl. ¶¶ 158-245. Stanley Pokorney is alleged to have engaged

in the same wrongdoing and breaches of duty across that period, and the Complaint fails to

distinguish for purposes of liability between contracts entered into by Knauff and the Hub




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Defendants. See, e.g., id. ¶¶ 234-236 (alleging that “[t]he District entered into multiple contracts

with the Insurance Defendants for consulting services” and that “[t]he Insurance Defendants

breached their contracts with the District by providing unsound advice, and advising the District

to purchase insurance that was unnecessary and excessive”). As the Board has pleaded its case,

the Hub Defendants’ alleged misconduct is of a piece with Knauff ’s alleged misconduct; it thus

bears a significant relationship to the subject matter of the contracts with arbitration clauses. See

Hous. Auth. of City of Columbia v. Cornerstone Hous., LLC, 588 S.E.2d 617, 622 (S.C. Ct. App.

2003) (dispute that was “significantly related to the subject matter of ” certain contracts was

arbitrable “even if the contracts failed to specifically include the time period when the dispute

arose”).

       The Board has alleged a uniform course of conduct and seeks to hold all defendants liable

for that entire course of conduct. Accordingly, the entirety of the Board’s claims must be

arbitrated together.

       C.      The FAA’s Interstate Commerce Requirement Is Satisfied

       The parties’ dispute also easily satisfies the requirement that it “involv[e] commerce.”

See 9 U.S.C. § 2; Am. Gen. Life & Accident Ins. Co., 429 F.3d at 87. The FAA “extend[s] . . . to

the limits of Congress’ Commerce Clause power.” Allied-Bruce Terminix Cos. v. Dobson, 513

U.S. 265, 268 (1995). Thus, “an arbitration clause merely ‘affecting’ interstate commerce would

be covered by the statute.” THI of S.C. at Columbia, LLC v. Wiggins, No. 3:11-888-CMC, 2011

WL 4089435, at *1 n.3 (D.S.C. Sept. 13, 2011). That is manifestly so here, where a North

Carolina corporation entered into an agreement involving insurance brokerage services with a

South Carolina school district. Indeed, the Complaint itself alleges that Knauff and the Hub

Defendants “engaged in, and its activities affected, interstate commerce, including the provision

of brokerage and consulting services across state lines.” Compl. ¶ 163.


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        D.     The Board Has Failed To Submit This Dispute to Arbitration

        The final requirements for a court to compel arbitration are “the existence of a dispute

between the parties,” and “the failure, neglect or refusal of the defendant to arbitrate the dispute.”

Am. Gen. Life & Accident Ins. Co., 429 F.3d at 87. The Board’s assertion of multiple claims

against the Hub Defendants in this federal court, rather than submitting those claims to

arbitration, manifestly satisfies those elements.

II.     ANY DISPUTES REGARDING THE ARBITRABILITY OF THE BOARD’S CLAIMS MUST
        THEMSELVES BE SUBMITTED TO ARBITRATION—BUT FAIL IN ANY EVENT

        A.     Any Question of Arbitrability Must Itself Be Resolved in Arbitration

        Should the Board resist arbitration of any or all of its claims against any or all of the

defendants, any questions regarding the scope of arbitrability must themselves be submitted to

arbitration. It is settled that “parties may choose ‘to arbitrate gateway questions of arbitrability,

such as whether the parties have agreed to arbitrate or whether their agreement covers a

particular controversy.’ ” Simply Wireless, Inc. v. T-Mobile US, Inc., 877 F.3d 522, 526 (4th Cir.

2017) (quoting Rent-a-Ctr., W., Inc. v. Jackson, 561 U.S. 63, 68-69 (2010)). The Knauff

contracts contain just such a requirement that any gateway questions be arbitrated.

        Specifically, the Knauff agreements require that any dispute be resolved “under the

commercial rules of the American Arbitration Association.” Benfield Decl. Exs. B-G ¶ 4.4. And

the AAA Rules expressly provide that “[t]he arbitrator shall have the power to rule on his or her

own jurisdiction, including any objections with respect to the existence, scope, or validity of the

arbitration agreement or to the arbitrability of any claim or counterclaim.” AAA Rules, at R-

7(a), https://www.adr.org/sites/default/files/commercial_rules.pdf.      Thus, there is consensus

among the circuits that where, as here, an arbitration agreement incorporates the AAA rules by

reference, questions of arbitrability must be reserved for the arbitrators. See, e.g., Brennan v.



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Opus Bank, 796 F.3d 1125, 1130 (9th Cir. 2015); Petrofac, Inc. v. DynMcDermott Petrol. Ops.

Co., 687 F.3d 671, 675 (5th Cir. 2012); Terminix Int’l Co. v. Palmer Ranch Ltd. P’ship, 432 F.3d

1327, 1332 (11th Cir. 2005); Contec Corp. v. Remote Sol. Co., 398 F.3d 205, 208 (2d Cir. 2005).

The Fourth Circuit recently “agree[d]” with the reasoning of these circuits in holding “that the

incorporation of arbitral rules substantively identical to” the AAA rules “serves as ‘clear and

unmistakable’ evidence of the parties’ intent to arbitrate arbitrability.” Simply Wireless, 877

F.3d at 527-28.

       As a result, if the Court believes that an issue of arbitrability is seriously disputed in this

case, it should require that any such dispute be resolved by the arbitrators in the first instance.

       B.      South Carolina’s Exclusion of “Insurance Policies” from the FAA’s Require-
               ments Does Not Apply Here

       The Hub Defendants anticipate that the Board will urge that the arbitration provisions at

issue here are unenforceable under the South Carolina Uniform Arbitration Act, which exempts

claims for “any insured or beneficiary under any insurance policy or annuity contract” from

otherwise-applicable arbitration requirements. S.C. Code Ann. § 15-48-10. But that exclusion

has no application here.

       This Court has explained that § 15-48-10 serves to “reverse preempt” the FAA and

“prohibit[ ] the enforcement of arbitration clauses in insurance policies under South Carolina

law.” Am. Health Life Ins. Co. v. Heyward, 272 F. Supp. 2d 578, 582 (D.S.C. 2003) (emphasis

added). But that provision is irrelevant here because the arbitration clauses at issue are not “in

insurance policies”—and indeed, the Complaint contains no allegation that Knauff failed to pay

claims under the terms of any insurance policy. Rather, Knauff was and is alleged to have been

an insurance broker, Compl. ¶ 2—as a result, it did not issue any of the policies in question.

The arbitration provisions are contained in brokerage service agreements regarding the review



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and management of a client’s insurance needs, and the claims arise from the defendants’

performance of such obligations. See generally Benfield Decl. Exs. B-G; see also Compl. at 2-3

(alleging duties “to provide prudent counsel to the District, and to advise against the purchase of

unnecessary and duplicative insurance policies,” which were breached by advising unnecessary

policies and “charging sham broker’s and consulting fees for management of insurance and

insurance reviews”). South Carolina courts have consistently held that arbitration clauses in

contracts such as the Knauff agreements here—which relate to insurance, but are not themselves

insurance policies—are not subject to § 15-48-10. See Wilson v. Willis, 786 S.E.2d 571, 587

(S.C. Ct. App. 2016) (reversing denial of motion to compel arbitration because the “Agency

Agreement at issue . . . is not an insurance policy” and the asserted claims were not those of an

“insured or beneficiary under any insurance policy”); Walden v. Harrelson Nissan, 731 S.E.2d

324, 326 (S.C. Ct. App. 2012) (reverse preemption only occurs “when a litigant seeks to enforce

an arbitration agreement contained in an insurance policy governed by South Carolina law”

(emphasis added)). In any event, as discussed above, any reverse preemption argument that the

Board might raise must be resolved by the arbitrators. See pp. 13-14, supra.

III.     ANY CLAIMS FOUND TO BE NON-ARBITRABLE SHOULD BE STAYED

         As shown above, the Court should permit the arbitrators to decide the scope of arbitrable

claims, as the parties agreed, and should compel arbitration of all claims if it nonetheless decides

the scope of arbitrability itself. But if this Court holds any claims or issues to be non-arbitrable,

it should stay them while the arbitration proceeds. See Am. Recovery Corp., 96 F.3d at 97

(noting district court’s discretion to issue such a stay). “When arbitration is likely to settle

questions of fact pertinent to nonarbitral claims, consideration of judicial economy and

avoidance of confusion and possible inconsistent results militate in favor of staying the entire

action.” Nat’l Material Trading v. M/V Kaptan Cebi, No. 2:95-3673-23, 1997 WL 915000, at *9


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(D.S.C. Mar. 13, 1997). Here, the same types of conduct underlie all of the Board’s claims

across the entirety of the Complaint’s time span. Efficiency thus counsels staying any claims for

which the Court does not compel arbitration.




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                                       CONCLUSION

       For the foregoing reasons, the Hub Defendants respectfully request an order compelling

arbitration and staying this case.



Dated: March 5, 2018                                     Respectfully submitted,

                                                         /s Christy F. Allen

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